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 6                   UNITED STATES DISCTRICT COURT
                   WESTERN DISCTRICT OF WASHINGTON
 7                            AT TACOMA
      UNITED STATES OF AMERICA           NO. CR 05-5208 FDB
 8

 9                                  Plaintiff,         Order Continuing Pretrial Motions
                                                       Deadline
10                    v.

11    JOSE GALEANA
      GENARO MATA-ABARCA
12    JORGE GALEANA-ABARCA and
      SIMONE MATA-HERNANDEZ
13
                                    Defendants.
14                                           Order
15
             Mr. Galeana-Abarca moves the Court to extend the pretrial motions cut-off
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     from 5/6/05 to 6/10/05. Good cause exists to extend the deadline in light of
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     language barriers of at least 2 of the Defendants and the need for defense counsel to
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     have sufficient time to review discovery with their clients. Accordingly, the Court
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     GRANTS the stipulated motion and the new Pretrial Motions Cut-off for all
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     defendants is 6/10/05. Entered this 5th day of May, 2005.
21

22                                    /s/ Ronald B Leighton     _
                                     RONALD B LEIGHTON
23                                   UNITED STATES DISTRICT JUDGE
     Order Continuing PTM cut-off                1                      PHIL BRENNAN, Esq.
                                                                            P.O. Box 22837
                                                                           Seattle, WA 98122
                                                                            (206) 372-5881
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 1   Presented by:
     /s/
 2   Phil Brennan; Date: 5/5/05
     Representing Def. Galeana-Abarca
 3
     We agree with this order and waive presentment:
 4

 5   /s/ per email approval
     MaryKaye High; Date: 5/2/05
 6   Representing Mr. Galeana

 7   /s/ per email approval
     Colin Fieman; Date: 5/2/05
 8   Representing Mr. Galeana-Abarca

 9   /s/ per email approval
     Ron Ness; Date: 5/4/05
10   Representing Mr. Mata-Hernandez
11   /s/ per confirmation through legal assistant
     Patricia C. Lally; Date: 5/4/05
12
     Representing USA
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     Order Continuing PTM cut-off               2                    PHIL BRENNAN, Esq.
                                                                        P.O. Box 22837
                                                                       Seattle, WA 98122
                                                                        (206) 372-5881
